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 8                            UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
     ENTTECH MEDIA GROUP LLC,                       Case No.: 2:20-cv-6298 JWH (Ex)
11
                 Plaintiff,                         Hon. John W. Holcomb
12
     v.                                             NOTICE OF WITHDRAWAL OF
13                                                  MOTION TO DISMISS SECOND
     OKULARITY, INC. et al.,                        AMENDED COMPLAINT (ECF 55)
14
                 Defendants.
15

16

17   TO THE COURT, PARTIES, AND COUNSEL:
18         PLEASE TAKE NOTICE that, in light of the filing of the Third Amended
19   Complaint, Defendants hereby withdraw the Motion to Dismiss Second Amended
20   Complaint (ECF 55). The withdrawal is without prejudice to Defendants’ right to
21   raises defenses to the Third Amended Complaint, including by motion under Rule 12
22   of the Federal Rules of Civil Procedure.
23

24   Dated: November 17, 2020      PERKOWSKI LEGAL, PC
25
                                   By:    /s/ Peter Perkowski
26
                                         Peter E. Perkowski
27
                                         Attorneys for Defendants OKULARITY, INC.
28                                       and JON NICOLINI

                                                1
                                    NOTICE OF WITHDRAWAL
